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JS«(Rev0611 7)                   \..0 \::)                       WB'VJLCOVERSHEET                                                                                                       \c._,SS,\'\
The JS 44 civil cover sheet and the mformat1on      I    h        1ther replace nor supplement the filing and service ofpleadmgs or other papers as reqmred by la'-11, except as
provided by local rules of court This form. appr   d    the Jud1c1al Conference of the Umted States m September 1974, 1s reqmred for the use of the Clerk of Court for the
purpose of m1t1atmg the CIVIi docket sheet (SFE INSTR/ !CTTONS ON NJ,XT PAGI! Of THIS /.ORM)

I. (a) PLAI:'lTIFFS                                                                                                                  DEFENDANTS
 Francis Kyem                                                                                                                      Merakey USA and Merakey Children's Services

    (b) County of Residence of Frrst Listed Plamllff                                                                                 County of Residence of F1rst I. 1sted Defendant
                                        (EXCFPT IN US PI.AJNTL                                                                                                           (IN US PI.AINTIFr CASF.S ONl l')
                                                                                                                                     NOTE         TN LAND CONUEMNA TION CASES. l:SE THE LOCATION OF
                                                                                                                                                  THE TRACT O~ LAND INVOLVED


    ( C) Attorneys (Finn Name, Address, and Telephone Nu                         r)                                                   Attorneys (If Known)
 Michael Murphy. Esq and Michael Groh. Esq ,      y Law Group, LLC,
 Eight Penn Center, Suite 2000. 1628 John F Kennedy Blvd,
 Ph1ladelph1a, PA 19103, 267-273-1054

II. BASIS OF JL'RISDICTI                                                     tn One Box Only)                      Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                                    'X" m One Box/or Plamttff
                                                                                                                                (For Dtvers1ty ( :ases Only)                                                   and One Box for Defendant)
1 1 1.: S Government                                     ederal Question                                                                                        PTF        DEF                                                     PTF          DEF
            Plamtiff                                      (/! S Government Not a Part),)                                 Ctllzen of Tots State                  '"J I       n    I     Incorporated or Pnnc1pal Place                n    4     n   4
                                                                                                                                                                                         of Busmess In Tins State

1 2      L: S Government                                  1vers1fy                                                       Ctllzen of Another State               n    2      n    2     Incorporated and Pnncipal Place               11   s n       5
             Defendant                                    (!ndu·ate Cittzensh1p of Parnes m Item ll/J                                                                                     of Busmess In Another State

                                                                                                                                                                '"J 3       1    3     Foreign Nation                                r16        [J6


IV. ~ATURE OF SUIT (Place an                              "X tnOneBoxOnly)                                                                                                  Chck here for Nature ofSmt C.ode Descn uons
             CONTRACT                                                          ORTS                                          FORFE        URE/PENALTY                           BANKRUPT Y                            OTHERSTATUTES
[J 110 Insurance                                 PERSONAi. INJURY                        PERSONAL INJl:RY                r1 625 Drug Related Se=                     1 422 Appeal 28 U5C I 58                 :J 375 false Clarms Act
[J 120Manne                                  [J 310 Airplane                          r1 365 Personal Injury •                  of Property 21 l:SC 881              r1 423 Withdrawal                        1 376QmTam(ll use
1 I 30 Miller Act                            r1 31 S Airplane Product                         Product l .1abihty         [J 690Other                                        28 USC 157                                          3729(a))
n 140 Negotiable Instrument                           Liab,hty                        [J 36 7 Health Care/                                                                                                             [J 400 State Reapportiomnent
1 150 Recovery of Overpayment                n 320 Assault, Libel &                           Pharmaceutical                                                         t-""P"'R"'o=P-=E-=R"'TY=R=IG""H:-:-TS=---1 n 410 Antitrust
         & Enforcement of Judgment                    Slander                                 Personal Injury                                                          [J 820 C opynghts                               1 4 30 Banks and Bankmg
:J I 5 I Medicare Act                        [J 330 Federal Employers                         Product l ,iab1hty                                                       cl 830 Patent                                   1 4 50 Commerce
[J 152 Recovery of Defaulted                          L1ab1hty                        1 368 Asbestos Personal                                                          n 83 5 Patent - Abbrevtated                     n 460 Deportation
         Student Loans                       1 340 Marme                                       lnJury Product                                                                   New Drug Apphcanon                     n 4 70 Racketeer Influenced and
         (Excludes Veterans)                 [J 34 5 Marmo Product                             Ltabihty                                                                n 840 I rademark                                        Corrupt Orgamzations
::J I S 3 Recovery of Overpayment                     Liability                   PERSONAL PROPERT 1-.,,+.,..,.-J;<;=~Rii..-,--,--+=-'S~~I-L~SE;a,C~U~IT.._.,Y_ _-ln 480 Couswner Credit
         of Veteran· s Benefits              [J 350 Motor Velncle              n 370 Other Fraud                                                                       '"J 861 HlA (I 395ft)                           [J 490 Cable/Sat TV
n 160 Stockholders· Smts                     [J 3SS Motor Velucle              r1 371 Truth m l.endmg                                        Act                       n 862 Black Lung (923)                          n 850 Secunties/Commodittes,
1 I 90 Other (' ontract                              Product Liab1hty          [J 380 Other Personal                                    720 Labor/Management           '"J 863 DIWC/DIWW (405(g))                              hxchange
'"J 195 Contract Product L 1ab1hty           11 360 Other Personal                        Property Damag                                     Relations                 r1 864 SSID Title XVI                           r1 890 Other Statutory Actions
:, 196 Franclnse                                     inJury                    n 385 Property Dama                                  n 740 Ratlway Labor Act            [J 865 RSI (405(g))                             [J 891 Agncultural Acts
                                             n  362 Personal 1nJury -                     Product I ,iabih                          :7 751 Family and Medical                                                          n 891 F.1tV1rorunenta1 Matters
                                                     Medical Mal ctice                                                                       I .eave Act
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                                                                                                                          ...Sa......i1 790 Other Labor I ,1ttgatton
 1 210 Land Condenmatioo                     [J 440 Other Cm! Rights                 Habeas Corpus:                                 [J 791 1::.mployee Retrrement      n 870 I axes (U S Plamtiff                      n 896 Arbitration
 [J 220 Foreclosure                          [J 441 Voting                     :, 463 Aben Detamee                                          Income Secunty Act                  or Defendant)                          '"J 899 Adtmrustrative Procedure
 1 210 Rent Lease & EJectinent               [J 442 Employment                 CJ S10 Motions to Vacate                                                                n 871 IRS Tlnrd Party                                   Act!Revtew or Appeal of
 n 240 Torts to Land                         ::-J 44 3 Housmg/                            Sentence                                                                               26 USC 7609                                   Agency Decision
 [J 24 5 I ort Product L1ab1hty                        Accommodations          [J 5 30 General                                                                                                                         n 950 Consntutional,ty of
 n 290 All Oth~r Real Property               [J 44 S Amer w/Disabtl1ties . 1 5 35 Death Penalty                                              IMMIGRATION                                                                       State Statutes
                                                       Employment                    Other:                                         (1 462 Naturahzanon Application
                                             'J 446 Amer w/D1sabihttes - [J 540 Mandamus & Other                                    rJ 465 Other Inurugration
                                                       Other                   ::J SSO Cm! Rtghts                                           Actions
                                             [J 448 Education                  n 555 Pnson Cond1tton
                                                                               n 560 Cm! Detamee -
                                                                                          Conditions of
                                                                                          Confinement

               GIN (Place an          X m One Box Only)
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Vil. REQL'ESTED I~                                                                                                           DEMAND$                                                 CffiCK YhS only
     COMPLAINT:                                                                                                                                                                      Jl:RY DEMAND
VIII. RELATED CASE
      IFANY                                                                                                                                                               DOCKET NUMBER
DATE                                                                                                                          OF RF.CORD
 11/26/2019
FO OFFICE t:SE ONLY

    RECEIPT#                            AMOL'NT                                              APPL YING ll P                                          Jl:DGE                                    MAG Jl:DGE
                             Case 2:19-cv-05577-WB Document 1 Filed 11/26/19 Page 20 of 21
                                                                UNITED STATES DISTRICT COFRT
                                                        J<'OR THE EASTER~ DISTRICT OF PENNSYLVANIA

                                                                            DESIG!'IIATION J<'ORl\1
                                                                                                                                          19                  5577
                      (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar1

Address of Plaintiff-                                      523 East Washington Lane, Philadelphia, PA 19144
Address of Defendant: 620 Germantown Pike, Lafayette Hill, PA 19444 (Merakey USA); 906 Bethlehem Pike. Erdenhelm, PA 19038 (Merakey Children's Services)
                      --                    ----~                       --           -"                       --           --
Place of Accident, Incident or Transaction:                                                             Philadelphia, PA


RELATED CASE, IF ANY:

Case Number                                                       Judge                                                      Date Tennmated.

Civ!I cases are deemed related when Yes is answered to any of the followmg quest10ns

I.     Is this case related to property mcluded in an earlier numbered smt pending or withm one year                            YesD                     No[Z]
       previously termmated action in this court'>

2.     Does this case mvolve the same issue of fact or grow out of the same transaction as a pnor smt                           YesD                     No[l]
       pendmg or withm one year previously termmated action m this court?

3      Does this case involve the validity or infrmgement of a patent already m suit or any earlier                             YesD                     Noll]
       numbered case pendmg or withm one year previously terminated action of this court'>

4.     Is this case a second or successive habeas corpuG,
       case filed by the same individual?
                                                      so · secunty appeal, or pro se cJVII rights                               YesD                     No   [Z]
I certify that, to my knowledge, the withm case            D    s / • is not                       case now pendmg or w1thm one year previously terminated act10n m
this court except as noted above.

DATL        11/26/2019                                                                                                                            91262
                                                                                                                                           Attorney ID # (if appltcable)


CIVIL: (Plau• a v in one category only)

A.             Federal Question Cases.·                                                      B.    Diversity Jurisdiction Cases:


••032.1
           Indemnity Contract, Marine Contract, and All Other Contracts
           FELA
                                                                                             ••    I.
                                                                                                   2.
                                                                                                         Insurance Contract and Other Contracts
                                                                                                         Airplane Personal Injury
           Jones Act-Personal Injury                                                          •    3     Assault, Defamation

                                                                                             •••
 • 4       Antitrust                                                                               4     Marine Personal lnJury

8 !·       Patent
           l ,abor- Management Relations
       7, Civil Rights                                                                        •
                                                                                                   5
                                                                                                   6.
                                                                                                   7,
                                                                                                         Motor Vehicle Personal lnJury
                                                                                                         Other Personal Injury (Please specify)
                                                                                                         Products I ,iabtl ity
       8   Habeas Corpus
       9. Secunt1es Act(s) Cases
                                                                                             ••    8
                                                                                                   9
                                                                                                         Products Liability - Asbestos
                                                                                                         All other Diversity Cases
       10. Social Security Review Cases                                                                  (Please specify)
       11 All other Federal Question Cases
           (Please specify) _ _   _ _Fair Labor Standard$ Act



                                                                             ARBITRATION CERTIFICA IION
                                                    (The effect of this certification 1s to remove the case from eltgib1/tty for arbltratwn)

                    ichael Murphy, Esq.                      , counsel of record or pro se plamttff, do hereby certify


               ursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best ofmy knowledge and behef, the damages recoverable in this civil act10n case
              exceed the sum of $150,000 00 exclusive of mterest and costs

               Rehef other than monetary damages 1s sought.
                                                                                                                                                         NOV 26 2019
DATh
           11/26/2019                                                                                                                             91262
                                                                                                                                          Attorney l D   1/. (if applicable)

NOTE A tnal de novo wtll be a tnal by Jury only if there has been compliance wtth F RC P 38

o.   609 (J/2018)
           Case 2:19-cv-05577-WB Document 1 Filed 11/26/19 Page 21 of 21

                       IN THE UNITED STA TES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                    CASE MA.~AGEMENT TRACK DESIGNATION FORM

                                                                              CIVIL ACTION
                  Fracis Kyem
                       V.
     Merakey, USA; and
                                                                                    19
                                                                              NO.
     Merakey Children's Services
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See§ I :03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE .FOLLOWING CASE MA.~AGEMENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                                   ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                        ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.            ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                                 ( )

{e) Special Management - Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(f) Standard Management - Cases that do not fall into any o          the other tracks.



 November 26, 2019              Michael Murphy, Esquir                   Plaintiff Francis Kyem
Date                               Attorney-at-la                        Attorney for
  267-273-1054                   215-525-0210                         murphy@phlllyemploymentlawyer com


Telephone                           l<'AXNumber                          E-Mail Address



(Ch. 660) 10/02




                                                                                           NOV 26 2019.
